        Case 8:00-cr-00424-PJM            Document 601         Filed 11/26/08        Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            :

          v.                                       : CRIMINAL ACTION NO. PJM-00-424
                                                     CIVIL ACTION NO. PJM-08-2778
ROBERT HENRY DAVIS, #36428-037                     :

                                          :
                                  MEMORANDUM OPINION

         Before the Court are identical pleading filed separately and pro se by Robert Henry Davis

titled “ Motion to Amend Pursuant to Fed. R. Civ. P. 15(a)” (citing United States v Johnson, 962 F.2d

at 579 Writ of Audita Querela) and relief under Fed. R. Civ. P. 60(b)(6). Papers No. 579 and 587.

The Motions shall be construed pursuant to 28 U.S.C. §2255, and dismissed without prejudice by

separate Order.

                                           Background

        Davis is serving a life sentence for conspiracy to distribute and possess with intent to distribute

five kilograms or more of cocaine in violation of 21 U.S.C. § 846 and possession with intent to

distribute five kilograms or more of cocaine base in violation of 21 U.S.C. § 846(a). The United States

Court of Appeals for the Fourth Circuit affirmed Davis’s conviction and sentence on appeal. See

United States v. Davis, 67 Fed Appx. 771 (4th Cir. 2003). The Supreme Court denied Davis’s petition

for certiorari.

        Davis subsequently filed a Motion to Vacate, Set Aside or Correct, which this Court denied.

The United States Court of Appeals for the Fourth Circuit denied a Certificate of Appealability and

dismissed Davis’s appeal of the denial.

                                            Analysis

                                        (I) Rule 60(b)

         Davis contends that two prior Florida state drug convictions were improperly used to enhance

his sentence. Davis posits that he is “actually innocent” of violating the “§ 851 enhanced penalty
       Case 8:00-cr-00424-PJM            Document 601         Filed 11/26/08       Page 2 of 3



statute” because his Florida convictions were not controlled substance offenses.1 Paper No. 587.

        As has been explained to Davis on prior occasions,2 a Rule 60(b) motion “attacks, not the

substance of the federal court’s resolution of a claim on the merits, but some defect in the integrity of

the federal habeas proceedings.” Gonzales v. Crosby, 545 U.S. 524, 532 (2005). In contrast, a motion

that seeks to advance substantive claims qualifies as a “second or successive habeas petition.” See

id; see also United States v. Winestock, 340 F. 3d 200, 207 (4th Cir. 2003) (explaining that “a

motion directly attacking the prisoner’s conviction or sentence will usually amount to a successive

application...”).

        The instant Rule 60(b) motion clearly challenges the validity of the underlying sentence and

is the equivalent of a second or successive §2255 petition. See Calderon v. Thompson, 523 U.S. 538,

554 (1998) (ruling the subject matter of the motion and not petitioner’s description determines its

status). Filing a second or successive motion in federal district court requires prior authorization

from the Court of Appeals. See 28 U.S.C. §§2244(a) & 2255; In re Avery W. Vial, 115 F.3d 1192,

1197-98 (4th Cir. 1997). A petitioner may not present a § 2255 petition in the guise of a Rule 60(b)

motion to circumvent preauthorization requirements. See id. Where, as here, there is no evidence

that a petitioner has obtained appellate authorization to file second or successive §2255 motion,

it must be dismissed without prejudice for lack of jurisdiction.

        Even were this claim properly considered under Rule 60(b)(6), it would be unavailing. Fed.

R. Civil P 60(b) provides in relevant part: “On motion and upon such terms as are just, the court may

relieve a party or a party's legal representative from a final judgment, order, or proceeding for the

        1
          Davis has in prior cases attempted to challenge his sentencing enhancement under Fed
R. Civ. P. 60(b). See Davis v. United States, Civil Action No. PJM-07-2458 (D. Md. 2007);
Davis v. United States, PJM-08-2776 (D. Md. 2008); Davis v. United States, PJM-08-2777 (D.
Md. 2008). These cases were dismissed without prejudice for lack of jurisdiction.
        2
            See supra, n. 1.

                                                   2
         Case 8:00-cr-00424-PJM         Document 601         Filed 11/26/08      Page 3 of 3



following reasons: ...”(6) any other reason justifying relief from the operation of the judgment.”

Rule 60(b) (6) provides an extraordinary remedy granted only in exceptional circumstances. See

Reid v. Angelone, 369 F.3d 363, 370 (4th Cir.2004); Valero Terrestrial Corp. v. Paige, 211 F.3d 112,

118 n. 2 (4th Cir.2000). Davis has not advanced any grounds justifying extraordinary relief.

                               (ii) Writ of Audita Querela

         To the extent Davis intends to bring his claims pursuant to a Writ of Audita Querla under

the All Writs Act, his challenge must be dismissed without prejudice. The United States Supreme

Court stated in Carlisle v. United States, 517 U.S. 416, 428-29 (1996) (quoting Pennsylvania

Bureau of Correction v. United States Marshal Service, 474 U.S. 34, 43 (1985)) that “‘[t]he All

Writs Act is a residual source of authority to issue writs that are not otherwise covered by statute”’

and “‘[w]here a statute specifically addresses the particular issue at hand, it is that authority, and

not the All Writs Act , that is controlling.’” Petitioner’s intention to rely on the residual authority

of the All Writs Act is unnecessary and improper in this case. Davis may seek redress by filing a

Motion to Vacate, Set Aside or Vacate after obtaining the requisite appellate pre-authorization.

                                           Conclusion

         For the reasons stated herein, the Motions shall be dismissed without prejudice by separate

Order.




                                                                   /s/
                                                             PETER J. MESSITTE
November 25, 2008                                       UNITED STATES DISTRICT JUDGE




                                                  3
